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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

  MARK SPANIER, Individually and on           Case No:
  behalf of all others similarly situated,
                                              CLASS ACTION COMPLAINT FOR
        Plaintiff,                            VIOLATIONS OF THE FEDERAL
                                              SECURITIES LAWS
        v.
                                              JURY TRIAL DEMANDED
  BAYERISCHE MOTOREN WERKE
  AKTIENGESELLSCHAFT, BMW
  (US) HOLDING CORP., OLIVER
  ZIPSE, HARALD KRÜGER,
  NORBERT REITHOFER,
  BERNHARD KUHNT, NICOLAS
  PETER, and LUDWIG WILLISCH,

        Defendants.

      Plaintiff Mark Spanier (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon

personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and

belief as to all other matters, based upon, inter alia, the investigation conducted by

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and through his attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, United States Securities and Exchange Commission (“SEC”) filings,

wire and press releases published by and regarding Bayerische Motoren Werke

Aktiengesellschaft (“BMW” or the “Company”), and information readily

obtainable on the Internet. Plaintiff believes that substantial evidentiary support will

exist for the allegations set forth herein after a reasonable opportunity for discovery.

                           NATURE OF THE ACTION

1.    This is a class action on behalf of persons or entities who purchased or

otherwise acquired publicly traded BMW securities from November 3, 2015

through September 24, 2020, inclusive (the “Class Period”). Plaintiff seeks to

recover compensable damages caused by Defendants’ violations of the federal

securities laws under the Securities Exchange Act of 1934 (the “Exchange Act”).

                          JURISDICTION AND VENUE

2.    The claims asserted herein arise under and pursuant to Sections 10(b) and

20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

3.    This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).




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4.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and

Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements

entered and the subsequent damages took place in this judicial district, and the

Company conducts substantial business in this district.

5.    In connection with the acts, conduct and other wrongs alleged in this

complaint, Defendants, directly or indirectly, used the means and instrumentalities

of interstate commerce, including but not limited to, the United States mails,

interstate telephone communications and the facilities of the national securities

exchange.

                                    PARTIES

6.    Plaintiff, as set forth in the accompanying certification, incorporated by

reference herein, purchased BMW securities during the Class Period and was

economically damaged thereby.

7.    Defendant BMW, together with its subsidiaries, purports to develop,

manufacture, and sell automobiles and motorcycles, and spare parts and accessories

worldwide. BMW is incorporated in Germany and with headquarters in Munich,

Germany. The Company’s American Depositary Receipts (“ADRs”) trade over-the-

counter on the OTC under the ticker symbols “BMWYY” and “BAMXF.”

8.    BMW (US) Holding Corp. (“BMW US”), BMW’s wholly-owned U.S.

subsidiary, is a corporation doing business in all 50 states and the District of


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Columbia and is organized under the laws of the State of New Jersey, with its

principal place of business located in 300 Chestnut Ridge Rd, Woodcliff Lake, NJ

07677.

9.      Defendant Oliver Zipse (“Zipse”) has served as the Company’s Chairman of

the Board of Management and Chief Executive Officer (“CEO”) since August 16,

2019.

10.     Defendant Harald Krüger (“Krüger”) served as the Company’s CEO from

May 13, 2015 until August 16, 2019.

11.     Defendant Norbert Reithofer (“Reithofer”) has served as the Company’s

Chairman of the Supervisory Board at all relevant times.

12.     Defendant Nicolas Peter (“Peter”) has served as the Company’s Chief

Financial Officer (“CFO”) and Member of the Board of Management since January

1, 2017.

13.     Defendant Bernhard Kuhnt (“Kuhnt”) has served as BMW US’s CEO since

March 1, 2017.

14.     Defendant Ludwig Willisch (“Willisch”) has served as BMW US’s CEO

from 2012 to February 28, 2017.

15.     Defendants Zipse, Krüger, Reithofer, Peter, Kuhnt, and Willisch are

collectively referred to herein as the “Individual Defendants.”

16.     Each of the Individual Defendants:


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            (a)   directly participated in the management of the Company;

            (b)   was directly involved in the day-to-day operations of the

                  Company at the highest levels;

            (c)   was privy to confidential proprietary information concerning the

                  Company and its business and operations;

            (d)   was directly or indirectly involved in drafting, producing,

                  reviewing and/or disseminating the false and misleading

                  statements and information alleged herein;

            (e)   was directly or indirectly involved in the oversight or

                  implementation of the Company’s internal controls;

            (f)   was aware of or recklessly disregarded the fact that the false and

                  misleading statements were being issued concerning the

                  Company; and/or

            (g)   approved or ratified these statements in violation of the federal

                  securities laws.

17.   BMW is liable for the acts of the Individual Defendants and its employees

under the doctrine of respondeat superior and common law principles of agency

because all of the wrongful acts complained of herein were carried out within the

scope of their employment.




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18.   The scienter of the Individual Defendants and other employees and agents of

the Company is similarly imputed to BMW under respondeat superior and agency

principles.

19.   Defendants BMW and the Individual Defendants are collectively referred to

herein as “Defendants.”

                        SUBSTANTIVE ALLEGATIONS
                   Materially False and Misleading Statements

      20.     On or about November 3, 2015, the Company released its quarterly

results for the third quarter ended September 30, 2015 (3Q15 Financials). The 3Q15

Financials stated that automobile sales in the US continued their upward trend from

the first half of the year and increased by 5%.

      21.     On March 16, 2016, the Company issued a press release containing a

weblink to its financial results and annual report for the fiscal year ended December

31, 2015 (the “2015 Financials”). The 2015 Financials was signed by Defendants

Krüger and Reithofer. The 2015 Financials contained signed statements by

Defendants Krüger and Reithofer attesting to the accuracy of financial reporting and

a fair review of the development and performance of the business, as well as the

attendant opportunities and risks.

      22.     The 2015 Financials stated that the Company sold 405,715 units of

automobiles in the USA.


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      23.    On March 21, 2017, the Company issued a press release containing a

web link to its financial results and annual report for the fiscal year ended December

31, 2016 (the “2016 Financials”). The 2016 Financials were signed by Defendants

Krüger and Peter. The 2016 Financials contained signed statements by Defendants

Krüger and Peter attesting to the accuracy of financial reporting and a fair review of

the development and performance of the business, as well as the attendant

opportunities and risks.

24.   The 2016 Financials stated that the Company’s revenue generated from the

USA was €12,912 million and sold 366,500 automobile units in 2016.

25.   On April 3, 2017, the Company issued a press release reporting 31,015

vehicles sold in the U.S. in March 2017, an increase of 3.3% compared with U.S.

sales in March 2016.

26.   On May 2, 2017, the Company issued a press release reporting 22,624

vehicles sold in the U.S. in April 2017, a decrease of 9.3% compared with U.S. sales

in April 2016.

27.   On May 4, 2017, the Company issued a press release announcing its financial

results for the period ending March 31, 2017. The Company reported sales volume

in the United States of 82,169 units between January 1, 2017 and March 31, 2017.

28.   On June 1, 2017, the Company issued a press release reporting 25,818

vehicles sold in the U.S. in May 2017, a decrease of 11% compared with U.S. sales


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in May 2016.

29.     On July 3, 2017, the Company issued a press release reporting 28,962 vehicles

sold in the U.S. in June 2017, an increase of 0.4% compared with U.S. sales in June

2016.

30.     On August 1, 2017, the Company issued a press release reporting 21,965

vehicles sold in the U.S. in July 2017, a decrease of 14.8% compared with U.S. sales

in July 2016.

31.     On August 3, 2017, the Company issued a press release announcing its

financial results for the period ending June 30, 2017. The Company reported sales

volume in the United States of 171,785 units between January 1, 2017 and June 30,

2017.

32.     On September 1, 2017, the Company issued a press release reporting 23,553

vehicles sold in the U.S. in August 2017, a decrease of 7.7% compared with U.S.

sales in August 2016.

33.     On October 3, 2017, the Company issued a press release reporting 25,571

vehicles sold in the U.S. in September 2017, an increase of 0.7% compared with

U.S. sales in September 2016.

34.     On November 2, 2017, the Company issued a press release reporting 23,208

vehicles sold in the U.S. in October 2017, a decrease of 3.4% compared with U.S.

sales in October 2016.


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35.   On November 7, 2017, the Company issued a press release announcing its

financial results for the period ending September 30, 2017. The Company reported

sales volume in the United States of 255,682 units between January 1, 2017 and

September 30, 2017.

36.   On December 1, 2017, the Company issued a press release reporting 28,049

vehicles sold in the U.S. in November 2017, an increase of 7.1% compared with U.S.

sales in November 2016.

37.   On January 3, 2018, the Company issued a press release reporting its

December 2017 and Year-End U.S. Sales. The Company reported total sales of

34,253 for December 2017 and 305,685 for full year 2018.

38.   On February 1, 2018, the Company issued a press release reporting 19,016

vehicles sold in the U.S. in January 2018, an increase of 5% compared with U.S.

sales in January 2017.

39.   On March 1, 2018, the Company issued a press release reporting 23,508

vehicles sold in the U.S. in February 2018, an increase of 4.2% compared with U.S.

sales in February 2017.

40.   On March 21, 2018, the Company issued a press release containing a web link

to its financial results and annual report for the fiscal year ended December 31, 2017

(collectively, the “2017 Financials”). The 2017 Financials were signed by

Defendants Krüger and Peter. The 2017 Financials contained signed statements by


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Defendants Krüger and Peter attesting to the accuracy of financial reporting and a

fair review of the development and performance of the business, as well as the

attendant opportunities and risks.

41.     The 2017 Financials stated that the Company’s revenue generated from the

USA was €13,298 million in 2017.

42.     On April 3, 2018, the Company issued a press release reporting 31,311

vehicles sold in the U.S. in March 2018, an increase of 1% compared with U.S. sales

in March 2017.

43.     On May 1, 2018, the Company issued a press release reporting 27,213

vehicles sold in the U.S. in April 2018, an increase of 4.2% compared with U.S. sales

in April 2017.

44.     On May 4, 2018, the Company issued a press release announcing its financial

results for the period ending March 31, 2018. The Company reported sales volume

in the United States of 84,630 units between January 1, 2018 and March 31, 2018.

45.     On June 1, 2018, the Company issued a press release reporting 30,888

vehicles sold in the U.S. in May 2018, an increase of 3.4% compared with U.S. sales

in May 2017.

46.     On July 3, 2018, the Company issued a press release reporting 29,407 vehicles

sold in the U.S. in July 2018, an increase of 1.5% compared with U.S. sales in July

2017.


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47.     On August 1, 2018, the Company issued a press release reporting 21,965

vehicles sold in the U.S. in July 2018, an increase of 0.1% compared with U.S. sales

in July 2017.

48.     On August 2, 2018, the Company issued a press release announcing its

financial results for the period ending June 30, 2018. The Company reported sales

volume in the United States of 176,570 units between January 1, 2018 and June 30,

2018.

49.     On September 4, 2018, the Company issued a press release reporting 23,789

vehicles sold in the U.S. in August 2018, an increase of 1% compared with U.S.

sales in August 2017.

50.     On October 2, 2018, the Company issued a press release reporting 25,908

vehicles sold in the U.S. in September 2018, an increase of 1.3% compared with

U.S. sales in September 2017.

51.     On November 1, 2018, the Company issued a press release reporting 23,262

vehicles sold in the U.S. in October 2018, an increase of 0.2% compared with U.S.

sales in October 2017.

52.     On November 7, 2018, the Company issued a press release announcing its

financial results for the period ending September 30, 2018. The Company reported

sales volume in the United States of 260,086 units between January 1, 2018 and

September 30, 2018.


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53.   On December 3, 2018, the Company issued a press release reporting 28,330

vehicles sold in the U.S. in November 2018, an increase of 1.0% compared with U.S.

sales in November 2017.

54.   On January 3, 2019, the Company issued a press release reporting its

“December 2018 and Year-End U.S. Sales.” The Company reported total sales of

34,357 for December 2018 and 311,014 for full year 2018. The press release noted

that BMW brand sales increased for the “14th consecutive month.”

55.   On February 1, 2019, the Company issued a press release reporting 18,102

vehicles sold in the U.S. in January 2019, a decrease of 4.8% compared with U.S.

sales in January 2018.

56.   On March 1, 2019, the Company issued a press release reporting 23,558

vehicles sold in the U.S. in February 2019, an increase of 0.2% compared with U.S.

sales in February 2018.

57.   On March 20, 2019, the Company issued a press release containing a web link

to its financial results and annual report for the fiscal year ended December 31, 2018

(collectively, the “2018 Annual Report”). The 2018 Annual Report was signed by

Defendants Krüger and Peter. The 2018 Annual Report contained signed statements

by Defendants Krüger and Peter attesting to the accuracy of financial reporting and

a fair review of the development and performance of the business, as well as the

attendant opportunities and risks.


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58.     The 2018 Annual Report stated that the Company’s revenue generated from

the USA was €12,930 million in 2018.

59.     On April 2, 2019, the Company issued a press release reporting 32,228

vehicles sold in the U.S. in March 2019, an increase of 2.9% compared with U.S.

sales in March 2018.

60.     On May 1, 2019, the Company issued a press release reporting 23,816

vehicles sold in the U.S. in April 2019, an increase of 1.4% compared with U.S. sales

in April 2018.

61.     On May 7, 2019, the Company issued a press release announcing its financial

results for the period ending March 31, 2019. The Company reported sales volume

in the United States of 83,158 units between January 1, 2019 and March 31, 2019.

62.     On June 3, 2019, the Company issued a press release reporting 27,109

vehicles sold in the U.S. in May 2019, an increase of 1.7% compared with U.S. sales

in May 2018.

63.     On July 2, 2019, the Company issued a press release reporting 31,627 vehicles

sold in the U.S. in June 2019, an increase of 7.5% compared with U.S. sales in June

2018.

64.     On August 1, 2019, the Company issued a press release reporting 23,015

vehicles sold in the U.S. in July 2019, an increase of 4.7% compared with U.S. sales

in July 2018.


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65.     On August 1, 2019, the Company issued a press release announcing its

financial results for the period ending June 30, 2019. The Company reported sales

volume in the United States of 174,779 units between January 1, 2019 and June 30,

2019.

66.     On September 1, 2019, the Company issued a press release reporting 25,505

vehicles sold in the U.S. in August 2019, an increase of 7.2% compared with U.S.

sales in August 2018.

67.     On October 1, 2019, the Company issued a press release reporting 27,467

vehicles sold in the U.S. in September 2019, an increase of 6.0% compared with

U.S. sales in September 2018.

68.     On November 1, 2019, the Company issued a press release reporting 25,440

vehicles sold in the U.S. in October 2019, an increase of 9.4% compared with U.S.

sales in October 2018.

69.     On November 6, 2019, the Company issued a press release announcing its

financial results for the period ending September 30, 2019. The Company reported

sales volume in the United States of 261,278 units between January 1, 2019 and

September 30, 2019.

70.     On December 3, 2019, the Company issued a press release reporting 31,213

vehicles sold in the U.S. in November 2019, an increase of 10.2% compared with

U.S. sales in November 2018.


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71.   The statements contained in ¶¶20-70 were materially false and/or misleading

because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business, operations and prospects, which were known

to Defendants or recklessly disregarded by them. Specifically, Defendants made

false and/or misleading statements and/or failed to disclose that: (1) BMW kept a

“bank” of retail vehicle sales that it used to meet internal monthly sales targets

regardless of when the sales actually occurred; (2) BMW artificially manipulated

sales figures by having dealers register cars as sold when the cars were still in

inventory; (3) as a result, BMW’s key operating metrics were inaccurate and

misleading; and (4) as a result, Defendants’ statements about BMW’s business,

operations, and prospects were materially false and/or misleading and/or lacked a

reasonable basis at all relevant times.

                       THE TRUTH BEGINS TO EMERGE

72.   On December 23, 2019, while the market was open, the Wall Street Journal

reported that the SEC was probing BMW’s sales practices. The Wall Street

Journal’s article stated, in pertinent part:

      The Securities and Exchange Commission has opened an investigation
      into whether German luxury car maker Bayerische Motoren Werke AG
      manipulated sales figures, according to people familiar with the matter.

      The regulator is looking into whether the Munich-based auto maker
      engaged in a practice known as sales punching in the U.S., the people
      said. Sale punching occurs when a company boosts sales figures by


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     having dealers register cars as sold when the vehicles actually are still
     standing on car lots.

     BMW acknowledged the investigation, but wouldn’t comment on the
     specifics of the probe.

     “We have been contacted by the SEC and will cooperate fully with their
     investigation,” the spokesman told The Wall Street Journal.

     The SEC couldn’t immediately be reached for comment.

     The probe comes as the U.S. officials continue to pursue other car
     companies suspected of falsifying data and misleading investors.

     Fiat Chrysler Automobiles NV in September agreed to pay $40 million
     to settle claims by the SEC that the company had for years paid dealers
     to report exaggerated sales numbers. The company said at the time it
     had reviewed and refined its sales reporting procedures and was
     committed to maintaining strong controls.

     Fiat Chrysler also revised monthly sales results going back several
     years, nullifying a 75-month streak of sales increases. Under those
     revised methods, the streak ended in September 2013, three years
     earlier than it previously stated.

     This year, Fiat Chrysler joined General Motors Co. GM 2.13% and
     Ford Motor Co. F 1.29% in ending the practice of reporting monthly
     U.S. sales numbers. The companies now report their U.S. sales
     quarterly, while most other major car makers still disclose results each
     month.

     The SEC investigation also follows 2015 indictments against
     Volkswagen AG VOW 2.48% of Germany on charges of defrauding
     U.S. consumers and the U.S. government and violating the federal
     Clean Air Act by rigging diesel-powered vehicles to cheat emissions
     test. That case was brought by the Justice Department.

     Volkswagen pleaded guilty to the charges in 2016 and has faced more
     than $30 billion in fines, penalties and compensation fees.


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      In addition, BMW faces litigation by European authorities on
      allegations of colluding with rivals to manipulate prices on technology
      to control emissions.

      BMW, which has vowed to fight the case, in April took a $1.1 billion
      charge against earnings as a provision for potential fines from the
      matter.

      BMW sold 322,862 vehicles in the U.S. in the first nine months of the
      year, an increase of 1.7% from a year ago, including its namesake
      BMW brands and its Mini brand.

      BMW also has been under pressure in the U.S. because of the Trump
      administration’s trade war with China, which has hit BMW’s SUV
      exports from its Spartanburg, S.C., factory. BMW has responded by
      shifting some production from the U.S. to China.

      (Emphasis added).

73.   On this news, BMWYY ADRs fell $1.33 per ADR, or nearly 6.87%, to close

at $18.02 per ADR on December 23, 2019, damaging investors. The same day,

BAMXF ADRs fell $1.25, or 1.5%, to close at $80.60.

74.   On September 24, 2020, the SEC announced a settlement agreement with

BMW regarding the investigation. According to the SEC’s order, from January

2015 to March 2017, BMW US “used its demonstrator and service loaner programs

to boost reported retail sales volume and meet internal targets, resulting in

demonstrator and loaner vehicles accounting for over one quarter of BMW [US]’s

reported retail sales in this period.” Additionally, the order found that BMW US,

from 2015 to 2019, maintained a reserve of unreported retail vehicles sales –

referred to internally as the “bank” – that it used to meet internal monthly sales
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targets regardless of when the actual sale occurred. The order also found that BMW

improperly designated vehicles as demonstrators or loaners so they would be

counted as sold when in actuality they were not. Without admitting to or denying

the order’s findings, BMW agreed to a settlement to pay $18 million and cease and

desist from future violations.

75.   On this news, BMWYY ADRs fell $0.51 per ADR, or approximately 2.2%,

to close at $23.07 per ADR on September 25, 2020, damaging investors. The same

day, BAMXF ADRs fell $2.54, or about 3.5%, to close at $68.91.

76.   As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s ADRs, Plaintiff and other Class

members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

77.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than

defendants who acquired BMW securities publicly traded on the OTC during the

Class Period, and who were damaged thereby (the “Class”). Excluded from the

Class are Defendants, the officers and directors of BMW, members of the Individual

Defendants’ immediate families and their legal representatives, heirs, successors or

assigns and any entity in which Officer or Director Defendants have or had a

controlling interest.


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78.      The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, BMW securities were actively traded

on the OTC. While the exact number of Class members is unknown to Plaintiff at

this time and can be ascertained only through appropriate discovery, Plaintiff

believes that there are hundreds, if not thousands of members in the proposed Class.

79.      Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants’ wrongful conduct in

violation of federal law that is complained of herein.

80.      Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities

litigation. Plaintiff has no interests antagonistic to or in conflict with those of the

Class.

81.      Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class.

Among the questions of law and fact common to the Class are:

         •     whether the Exchange Act were violated by Defendants’ acts as

               alleged herein;

         •     whether statements made by Defendants to the investing public during

               the Class Period misrepresented material facts about the financial

               condition and business BMW;

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      •      whether Defendants’ public statements to the investing public during

             the Class Period omitted material facts necessary to make the

             statements made, in light of the circumstances under which they were

             made, not misleading;

      •      whether the Defendants caused BMW to issue false and misleading

             public filings during the Class Period;

      •      whether Defendants acted knowingly or recklessly in issuing false and

             public filings;

      •      whether the prices of BMW’s securities during the Class Period were

             artificially inflated because of the Defendants’ conduct complained of

             herein; and

      •      whether the members of the Class have sustained damages and, if so,

             what is the proper measure of damages.

82.   A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to

them. There will be no difficulty in the management of this action as a class action.




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83.   Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

      •      BMW ADRs met the requirements for listing, and were listed and

             actively traded on the OTC, a highly efficient and automated market;

      •      As a public issuer, BMW filed periodic public reports;

      •      BMW regularly communicated with public investors via established

             market communication mechanisms, including through the regular

             dissemination of press releases via major newswire services and

             through     other    wide-ranging     public    disclosures,    such    as

             communications with the financial press and other similar reporting

             services; and

      •      BMW was followed by a number of securities analysts employed by

             major brokerage firms who wrote reports that were widely distributed

             and publicly available.

84.   Based on the foregoing, the market for BMW securities promptly digested

current information regarding BMW from all publicly available sources and

reflected such information in the prices of the ADRs, and Plaintiff and the members

of the Class are entitled to a presumption of reliance upon the integrity of the market.

85.   Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

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of the State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted

material information in their Class Period statements in violation of a duty to

disclose such information as detailed above.

                                   COUNT I
   For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                            Against All Defendants
86.    Plaintiff repeats and realleges each and every allegation contained above as

if fully set forth herein.

87.    This Count is asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the

SEC.

88.    During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which

they knew or deliberately disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make

the statements made, in light of the circumstances under which they were made, not

misleading.

89.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

              •      employed devices, schemes and artifices to defraud;

              •      made untrue statements of material facts or omitted to state

                     material facts necessary in order to make the statements made, in


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                    light of the circumstances under which they were made, not

                    misleading; or

             •      engaged in acts, practices and a course of business that operated

                    as a fraud or deceit upon plaintiff and others similarly situated in

                    connection with their purchases of BMW securities during the

                    Class Period.

90.   Defendants acted with scienter in that they knew that the public documents

and statements issued or disseminated in the name of BMW were materially false

and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated,

or acquiesced in the issuance or dissemination of such statements or documents as

primary violations of the securities laws. These defendants by virtue of their receipt

of information reflecting the true facts of BMW, their control over, and/or receipt

and/or modification of BMW’s allegedly materially misleading statements, and/or

their associations with the Company which made them privy to confidential

proprietary information concerning BMW, participated in the fraudulent scheme

alleged herein.

91.    Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the

material statements set forth above, and intended to deceive Plaintiff and the other


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members of the Class, or, in the alternative, acted with reckless disregard for the

truth when they failed to ascertain and disclose the true facts in the statements made

by them or other BMW personnel to members of the investing public, including

Plaintiff and the Class.

92.    As a result of the foregoing, the market price of BMW securities was

artificially inflated during the Class Period. In ignorance of the falsity of

Defendants’ statements, Plaintiff and the other members of the Class relied on the

statements described above and/or the integrity of the market price of BMW

securities during the Class Period in purchasing BMW securities at prices that were

artificially inflated as a result of Defendants’ false and misleading statements.

93.    Had Plaintiff and the other members of the Class been aware that the market

price of BMW securities had been artificially and falsely inflated by Defendants’

misleading statements and by the material adverse information which Defendants

did not disclose, they would not have purchased BMW securities at the artificially

inflated prices that they did, or at all.

94.    As a result of the wrongful conduct alleged herein, Plaintiff and other

members of the Class have suffered damages in an amount to be established at trial.

95.    By reason of the foregoing, Defendants have violated Section 10(b) of the

1934 Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and




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the other members of the Class for substantial damages which they suffered in

connection with their purchase of BMW securities during the Class Period.

                                    COUNT II
                 Violations of Section 20(a) of the Exchange Act
                        Against the Individual Defendants
96.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

97.   During the Class Period, the Individual Defendants participated in the

operation and management of BMW, and conducted and participated, directly and

indirectly, in the conduct of BMW’s business affairs. Because of their senior

positions, they knew the adverse non-public information about BMW’s

misstatement of revenue and profit and false financial statements.

98.   As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect

to BMW’s financial condition and results of operations, and to correct promptly any

public statements issued by BMW which had become materially false or

misleading.

99.    Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which BMW disseminated in the

marketplace during the Class Period concerning BMW’s results of operations.

Throughout the Class Period, the Individual Defendants exercised their power and
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authority to cause BMW to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of BMW within the

meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

the unlawful conduct alleged which artificially inflated the market price of BMW

securities.

100. By reason of the above conduct, the Individual Defendants are liable pursuant

to Section 20(a) of the Exchange Act for the violations committed by BMW.

                              PRAYER FOR RELIEF

       WHEREFORE, plaintiff, on behalf of himself and the Class, prays for

judgment and relief as follows:

       (a)    declaring this action to be a proper class action, designating plaintiff

as Lead Plaintiff and certifying plaintiff as a class representative under Rule 23 of

the Federal Rules of Civil Procedure and designating plaintiff’s counsel as Lead

Counsel;

       (b)    awarding damages in favor of plaintiff and the other Class members

against all defendants, jointly and severally, together with interest thereon;

       (c)    awarding plaintiff and the Class reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

       (d)    awarding plaintiff and other members of the Class such other and

further relief as the Court may deem just and proper.


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                          JURY TRIAL DEMANDED

     Plaintiff hereby demands a trial by jury.

Dated: October 27, 2020               Respectfully submitted,

                                      THE ROSEN LAW FIRM, P.A.

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